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The Honorable Judge Crabtree
District Court Judge
District of Kansas

April 14, 2020



Dear Honorable Judge Crabtree,

  My name is Norris Cromer and I am writing this letter in support of Jarrett William Smith,
United States Army SPC E-4.

   I have known this young man since his birth. Jarrett has always spent his time in learning
environments, including early childhood experiences, school spelling bees, the studies of history,
writing, music, and psychology.

   Jarrett has endured a visible physical deformity since birth but he never allowed this to
interfere with his living a worthwhile life. He even appeared on another students “Hit List”
during a school shooting. He appeared on the local news to discuss the issue after the trials were
over. Jarrett handled these hardships like a well-raised young man.

   I lived 200 miles from his home, but my visits were always enjoyable. He is very family
oriented and cares dearly for his younger sister. He was taught by his parents, to show others
respect.

   Some of his other accomplishments include being awarded “Best Flight” in the Civil Air
Patrol. He enjoyed Coach Pitch and Youth Baseball, Basketball and other sports.

   In conclusion, I would like to say that I trust this young man completely and it is my hope that
the court sees him for who he is, not what he supposedly said on the internet.



       Respectfully,

       Norris B. Cromer, Jr.
